                           Case 23-6, Document 62, 05/03/2023, 3509986, Page1 of 3


                        UNITED STATES COURT OF APPEALS FOR THE SECOND CIRCUIT

                               ORAL ARGUMENT STATEMENT (Local Rule 34.1(a))


          TO REQUEST ORAL ARGUMENT, FILL OUT THIS FORM AND FILE IT WITH THE CLERK
                 WITHIN 14 DAYS AFTER THE FILING OF THE LAST APPELLEE BRIEF.
      IF THIS FORM IS NOT TIMELY FILED, YOU WILL NOT BE PERMITTED TO ARGUE IN PERSON.
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Short Title of Case: _ _--1.:::.::,:_:__ _:_:_:_:_:_.i._:::====-=-=--                                           ;? ~1      k-
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Name of Party: -------'1_f~\_,,_,_f1_r:_·'l'_.s_•-_:-'/c_
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Status of Party (e. g ., a pp e Ila nt, era ss-a pp e llee, etc.): ___,-_'',.,,f-:,-1;-'"'-·~~t"'l"-v,_1,_-_ _ _ _ _ _ _ _ _ __
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Check one of the three options below:
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                  I want oral argument                         An attorney whose preference depends on W-fiether'oiher
                                                               attorneys will argue should consider conferrih:g before·;
                  I want oral argument only if                 requesting argument. After the appeal has ~e.en
                  at least one other party does.               scheduled for oral argument, a motion by coun~el to f¢)·go
                                                               oral argument, even on consent, may be denl~d.
         __. _ I do not want oral argument

If no party wants oral argument, the case will be decided on the basis of the written briefs. If you want oral
argument, you must appear in Court on the date set by the Court for oral argument

      The Court may determine to decide a case without oral argument even if the parties request it.



If you want oral argument, state the name of the person who will argue:

         Name:---------------------------------

          (An attorney must be admitted to practice before the Court in accordance with Local Rule 46.1.)

If you want oral argument, list any dates (including religious holidays), that fall in the interval from 6 to 20 weeks
after the due date of this form, that the person who will argue is not available to appear in Court:




ANYONE WHO WANTS TO ARGUE MUST UPDATE THE COURT IN WRITING OF ANY CHANGE IN
AVAILABILITY. THE COURT MAY CONSIDER A FAILURE TO UPDATE ABOUT AVAILABILITY WHEN
DECIDING A MOTION TO POSTPONE A SET ARGUMENT DATE.



Filed by:

                                                                                                 Date:




(Revised December 2011)
                    Case 23-6, Document 62, 05/03/2023, 3509986, Page2 of 3


    UNITED STATES COURT OF APPEALS FOR THE SECOND CIRCUIT

CAPTION:


                                                              CERTIFICATE OF SERVICE*

                                                              Docket Number:       Z. ·,   ·t·
                            v.




on


                                                 (list all documents)
by (select all applicable)**

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on the following parties:


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    Name                            Address                             City               State   Zip Code


*A party must serve a copy of each paper on the other parties, or their counsel, to the appeal or
proceeding. The Court will reject papers for filing if a certificate of service is not simultaneously
filed.

**If different methods of service have been used on different parties, please complete a separate
certificate of service for each party.




               Today's Date                                                        Signature

    Certificate of Service Form (Last Revised 12/2015)
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